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 11   RON BENDER (SBN 143364)
      KRIKOR J. MESHEFEJIAN (SBN 255030)
 22   LINDSEY L. SMITH (SBN 265401)
 33   LEVENE, NEALE, BENDER, YOO & GOLUBCHIK L.L.P.
      2818 La Cienega Avenue
 44   Los Angeles, California 90034
      Telephone: (310) 229-1234; Facsimile: (310) 229-1244
 55   Email: RB@LNBYG.COM; KJM@LNBYG.COM; LLS@LNBYG.COM
 66   Proposed Attorneys for Chapter 11 Debtors
 77   and Debtors in Possession

 88                             UNITED STATES BANKRUPTCY COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
 99                                    SANTA ANA DIVISION

10
10    In re:                                           Lead Case No.: 8:22-bk-10948-SC
11
11    TRX HOLDCO, LLC, a Delaware limited              Jointly administered with:
      liability company,                               8:22-bk-10949-SC
12
12
13
13            Debtor and Debtor in Possession.         Chapter 11 Cases
      ____________________________________
14
14    In re:                                           APPLICATION OF CHAPTER 11
                                                       DEBTORS AND DEBTORS IN
15
15                                                     POSSESSION TO EMPLOY DUANE
      FITNESS ANYWHERE LLC, a Delaware                 MORRIS LLP AS SPECIAL
16    limited liability company, dba TRX and TRX       INTELLECTUAL PROPERTY
16
      Training,                                        COUNSEL PURSUANT TO 11 U.S.C. §
17
17                                                     327(e); DECLARATION OF ALAN
              Debtor and Debtor in Possession.         VILLENUEVE IN SUPPORT THEREOF
18
18    ____________________________________
19
19                                                     [No hearing required unless requested
         Affects both Debtors                          – L.B.R. 2014-1(b)]
20
20
21
21      Affects TRX Holdco, LLC only

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22       Affects Fitness Anywhere, LLC only
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 11   TO THE HONORABLE SCOTT C. CLARKSON, UNITED STATES BANKRUPTCY

 22   JUDGE:

 33          TRX Holdco, LLC (“Hold Co”) and Fitness Anywhere LLC, dba TRX and TRX Training

 44   (“Product Co” and together with Hold Co and Product Co, collectively, the “Debtors”), the

 55   debtors and debtors-in-possession in the above-captioned, jointly-administered Chapter 11

 66   bankruptcy cases, respectfully submits this Application for authority to employ Duane Morris

 77   LLP (“DM”) as the Debtors’ special intellectual property counsel pursuant to 11 U.S.C. § 327(e),

 88   with compensation pursuant to 11 U.S.C. § 330, and with such employment to be effective as of

 99   the date of the Debtors’ bankruptcy filings .
10
10                                                    I.
11
11                                        CASE BACKGROUND
12
12           On June 8, 2022, the Debtors each filed a voluntary petition for relief under Chapter 11 of
13
13    the Bankruptcy Code. Since the Petition Date, the Debtors have operated their businesses and
14
14    managed their affairs as debtors in possession pursuant to Sections 1107 and 1108 of the
15
15    Bankruptcy Code.
16
16           The Debtors and their respective subsidiaries (collectively referred to herein as “TRX”)
17
17    comprise a world leading functional fitness company. Since being founded in 2004, TRX has
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18    evolved into a digitally-enabled, vertically integrated, omni-channel fitness lifestyle brand with
19
19    global reach powered by a large community of consumer and trainer enthusiasts. TRX’s flagship
20
20    and patented product - Suspension Trainer™ - is a highly versatile, portable, compact and
21
21    affordable fitness and training device/workout tool with broad reach across demographic groups
22
22    and fitness levels, which DM be utilized effectively across fitness modalities. TRX offers a full
23
23    line of functional training tools and accessories to complement the Suspension Trainer™ to serve
24
24    all types of functional needs, from at-home essentials to complete gym installations. TRX also
25
25    launched in 2021 a purpose-built digital subscription-based platform - the TRX Training Club® -
26
26    that offers a library of on-demand videos and daily live classes.
27
27           Despite the development and success of the Debtors’ products over the years, the Debtors’
28
28    revenue and cash flow from operations has been insufficient to support their current business

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 11   operations as well as their continued growth. There have been many reasons for this including

 22   competition, macroeconomic conditions, purchases of inventory in anticipation of demand that did

 33   not occur in an unpredictable market, and higher than anticipated development costs associated

 44   with the Debtors’ digital training platform and increased marketing expenses, partially attributable

 55   to general increases in paid advertising. It became apparent in late 2021 that the Debtors would

 66   require additional cash and investment to fund the Debtors’ long-term operations and growth and

 77   satisfy the Debtors’ secured debt obligations owed to the Bank of more than $19 million.

 88           Pre-petition, the Debtors hired Kroll Securities, LLC and Integrity Square LLC to, among

 99   other things, identify prospective investors and seek to obtain additional investments in the
10
10    Debtors’ business to further capitalize the Debtors and meet the Debtors’ operational and growth
11
11    needs, or engage in a sale transaction. The Debtors’ pre-petition efforts to raise capital to pay
12
12    down debt or engage in a strategic merger/acquisition with/by a buyer or investor did not result in a
13
13    consummated transaction.
14
14            The Debtors’ current financial situation is precarious in that the Debtors estimate that
15
15    unless they DM consummate a transaction or obtain additional financing, the Debtors will not have
16
16    sufficient liquidity to replenish inventory, impairing future customer sales and thereafter negatively
17
17    impacting the Debtors’ goodwill. The Debtors believe that if there was a shutdown of their
18
18    business with a resulting liquidation, it would be a disastrous result for creditors, including the
19
19    Bank.
20
20            Based on the foregoing, the Debtors determined in the exercise of their business judgment
21
21    that the best option available to the Debtors would be to conduct an expedited free and clear asset
22
22    sale in a chapter 11 bankruptcy proceeding and consummate that asset sale before the Debtors’
23
23    inventory falls below required operational levels and the Debtors run out of sufficient liquidity to
24
24    sustain operations. The Debtors believe that proceeding in this manner will afford them with the
25
25    best opportunity to achieve the maximum price possible for their assets for the benefit of their
26
26    creditors and other parties in interest. The Debtors are optimistic that this free and clear asset sale
27
27    process will result in a successful sale transaction closing.
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28    ///

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 11                                                     II.

 22           EMPLOYMENT OF SPECIAL INTELLECTUAL PROPERTY COUNSEL

 33           Prior to the Petition Date, starting in June 2018, when Alan Villenueve joined DM, DM

 44   began providing legal services to the Debtors related to its intellectual property (“IP”). Prior to

 55   June 2018, Mr. Villenueve provided IP legal services to the Debtor at his prior law firm. Given

 66   DM’s (and in particular Mr. Villenueve’s) long history of representing the Debtors as IP

 77   counsel, DM has a deep understanding and familiarity with the Debtors, their IP and the issues

 88   that arise concerning the Debtors’ IP. Thus, the Debtors believe that it would be highly

 99   inefficient and prejudicial to their estates to engage new special IP counsel to represent the
10
10    Debtors as any such new special IP counsel would have no familiarity or background with the
11
11    Debtors’ IP and have a steep and expensive learning curve.
12
12            The Debtors therefore seek to employ DM as their special IP counsel pursuant to 11
13
13    U.S.C. § 327(e) and with compensation pursuant to 11 U.S.C. § 330, at the expense of the
14
14    Debtors’ bankruptcy estates, and to have the Debtors’ employment of DM be deemed effective
15
15    on the date of the Debtors’ bankruptcy filings (June 8, 2022).
16
16            The Debtors seek to employ DM as special IP counsel to provide legal services related to
17
17    the Debtors’ IP, including but not limited to general IP advice, patent and trademark
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18    prosecution, brand enforcement, IP litigation, management of foreign IP counsel, and
19
19    maintenance of IP assets.
20
20            The Debtors believe that the retention of DM as their special IP counsel is in the best
21
21    interests of their estates given DM’s skill set, cost and historical deep familiarity with the Debtors
22
22    and their IP.
23
23            Section 327(e) provides in pertinent part that a debtor in possession “may employ, for a
24
24    specified special purpose . . . an attorney that has represented the debtor, if in the best interest of
25
25    the estate, and if such attorney does not represent or hold any interest adverse to the debtor or to
26
26    the estate with respect to the matter on which such attorney is to be employed.” 11 U.S.C. §§
27
27    327(e) and 1107.
28
28            The two primary attorneys at DM that will be handling the Debtors’ legal IP issues are

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 11   Alain Villeneuve and John E. Munro. Mr. Villeneuve practices in the area of intellectual

 22   property law, assisting clients across a wide array of industries in corporate, intellectual property

 33   and immigration matters. He routinely handles patent and trademark registration, monitoring

 44   and defense efforts. Mr. Villeneuve has represented clients before United States and global

 55   regulatory and enforcement boards, including the U.S. Patent and Trademark Office’s

 66   Trademark Trial and Appeal Board (USPTO) and the World Intellectual Property Organization

 77   (WIPO). A former nuclear engineer and a licensed U.S. Patent Attorney, Mr. Villeneuve is

 88   experienced in drafting patent applications in a number of fields, including mechanical,

 99   electrical, wireless and computer software, and has filed for international patent and trademark
10
10    applications under the PCT and Madrid Systems. More information regarding Mr. Villeneuve’s
11
11    professional    experience      can    be     found     by    visiting    the     following     link:
12
12    https://www.duanemorris.com/attorneys/alainvilleneuve.html#tab_Biography .
13
13           Mr. Munro practices in the area of intellectual property law, guiding clients with the
14
14    practical mindset of achieving their business goals. Mr. Munro prosecutes patent applications
15
15    before the United States Patent and Trademark Office and assists clients in the acquisition of
16
16    U.S. and foreign patent rights in diverse technologies such as software, medical devices, electro-
17
17    mechanical devices, automotive systems and consumer products. He also assists clients by
18
18    preparing freedom to operate and patentability opinions as well as assisting clients in the
19
19    buying, selling and licensing of intellectual property assets. Additionally, Mr. Munro provides
20
20    counseling in branding and trademark management including the acquisition and enforcement of
21
21    trademarks in the U.S. and around the world. Mr. Munro further has experience with complex
22
22    intellectual property litigation involving patent and trademark disputes. More information
23
23    regarding Mr. Munro’s professional experience can be found by visiting the following link:
24
24    https://www.duanemorris.com/attorneys/johnemunro.html .
25
25           DM will bill its time for work performed for the Debtors in accordance with its standard
26
26    hourly billing rates. Mr. Villeneuve’s hourly billing rate is $725. Mr. Munro’s hourly billing rate
27
27    is $720.
28
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 11          As indicated above, the Debtors expect to consummate a sale of their assets in an

 22   expedited sale process. The Debtors do not expect that any conflict will arise resulting from

 33   DM’s representation of both Debtors, and the Debtors believe that hiring separate IP counsel for

 44   each of the Debtors would be extremely burdensome, expensive, inefficient, impractical and

 55   unnecessary. In the event that any conflict issue(s) arise between the Debtors, DM will notify

 66   the Court and address such conflict that would be appropriate under the circumstances, including

 77   having one or both Debtors hiring special counsel to address the issue or conflict.

 88          Because the majority of the assets are owned by Product Co and all or essentially all of

 99   the business operations of the Debtors are conducted by Product Co, DM proposes to bill all of
10
10    its time to the Product Co bankruptcy case unless the matter deals only with the Hold Co
11
11    bankruptcy case in which case DM will bill its time to the Hold Co bankruptcy case.
12
12           As set forth in the annexed Declaration of Alain Villeneuve (the “Villeneuve
13
13    Declaration”), the Debtors and DM believe and assert that DM does not represent or hold any
14
14    interest adverse to the Debtors or to their estates with respect to the proposed representation.
15
15           DM was not paid any pre-bankruptcy retainer in contemplation of DM’s post-petition
16
16    services to be provided to the Debtors as set forth in this Application. DM is seeking Court
17
17    approval and the payment of a $50,000 post-petition evergreen retainer (the “Retainer”) to be
18
18    applied towards DM’s post-petition services to be provided to the Debtors. The Retainer has not
19
19    and will not be paid unless and until the Debtors’ obtain Court approval to pay the Retainer.
20
20           Once paid, the Retainer will be maintained in a segregated trust account. DM requests
21
21    Court authority to make monthly draws against the Retainer for all post-petition fees and
22
22    expenses incurred during prior month(s), provided that DM shall submit Professional Fee
23
23    Statement(s) and comply with the requirements of the United States Trustee in respect thereto
24
24    before drawing on the Retainer. Any and all monthly draws will still later be subject to final
25
25    approval pursuant to a fee application. As this is an evergreen Retainer, as the Retainer becomes
26
26    extinguished, the Retainer will be replenished in $50,000 increments. The Debtor submits that
27
27    the evergreen Retainer requested herein is necessary as DM’s services are critical to protecting,
28
28    preserving and maintaining the Debtors’ IP, which is the backbone of the Debtors’ businesses.

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 11   Additionally, DM submits that this relief is necessary and appropriate to assist DM with its cash

 22   flow needs as DM is required to pay its operating expenses on a continuous basis.

 33              DM will seek Court authority to be paid from the Debtors’ estates for any and all post-

 44   petition fees incurred and expenses advanced by DM during its post-petition representation of

 55   the Debtors. DM recognizes that the payment of any such post-petition fees and expenses will

 66   be subject to further Court order after notice and a hearing.

 77              DM has not shared or agreed to share its compensation for representing the Debtors with

 88   any other person or entity, except among its members.

 99              DM will provide monthly billing statements to the Debtors that will set forth the amount
10
10    of post-petition fees incurred and expenses advanced by DM during the previous month.
11
11               DM understands the provisions of 11 U.S.C. §§ 327 and 330 which require, among other
12
12    things, Court approval of the Debtors’ employment of DM as special IP counsel and of all legal
13
13    fees and reimbursement of expenses that DM will receive from the Debtors and the Debtors’
14
14    estates.
15
15               As of the Petition Dates, DM was owed the total sum of approximately $416,433.00 by
16
16    the Debtors collectively for unpaid legal fees and expenses, and is therefore a pre-petition
17
17    general unsecured creditor of the Debtors.
18
18               DM is not an equity security holder or an insider of the Debtors.
19
19               DM is not and was not an investment banker for any outstanding security of the Debtors.
20
20    DM has not been within three years before the Petition Date an investment banker for a security
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21    of the Debtors, or an attorney for such an investment banker in connection with the offer, sale or
22
22    issuance of any security of the Debtors.
23
23               As set forth in the Villeneuve Declaration, to the best of DM’s knowledge, neither DM
24
24    nor any member of DM is, nor was, within two years before the Petition Dates, a director,
25
25    officer or employee of the Debtors or of any investment banker for any security of the Debtors.
26
26               As set forth in the Villeneuve Declaration, to the best of DM’s knowledge, DM does not
27
27    hold or represent any interest materially adverse to the interest of the Debtors’ estates or of any
28
28    class of creditors or equity security holders, by reason of any direct or indirect relationship to,

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 11   connection with, or interest in the Debtors or an investment banker for any security of the

 22   Debtors, or for any other reason.

 33           As further set forth in the Villeneuve Declaration, to the best of DM’s knowledge, DM

 44   does not hold or represent any interest materially adverse to the Debtors or the Debtors’ estates

 55   with respect to the matters for which DM is to be employed. While DM holds a pre-petition

 66   general unsecured claim against the Debtors and their bankruptcy estates, the Debtors submit

 77   that the claim does not create a materially adverse interest or a conflict which would bar the

 88   Debtors’ employment of DM as special IP counsel in these cases.

 99           To the best of DM’s knowledge, other than DM’s prior representation of the Debtors and
10
10    DM’s pre-petition general unsecured claim against the Debtors, DM has no prior connection
11
11    with the Debtors, any creditors of the Debtors or their estates, or any other party in interest in
12
12    these cases, or their respective attorneys or accountants, the United States Trustee or any person
13
13    employed by the United States Trustee.
14
14            The Debtors believe that their employment of DM upon the terms and conditions set
15
15    forth herein is in the best interest of the Debtors’ estates.
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16    ///
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 11          WHEREFORE, the Debtors respectfully request that the Court approve the Debtors’
 22   employment of DM as their special IP counsel upon the terms and conditions set forth herein.
 33   Dated: June 16, 2022
 44
      TRX HOLDCO, LLC
 55   FITNESS ANYWHERE LLC, dba TRX and TRX TRAINING

 66

 77
      __________________________________________
 88   Name: Michael Zuercher
      Title: General Counsel
 99
10
10                                                LEVENE, NEALE, BENDER, YOO
11                                                & GOLUBCHIK L.L.P.
11
12
12                                                By: /s/ Lindsey L. Smith
                                                         Ron Bender
13
13                                                       Krikor J. Meshefejian
                                                         Lindsey L. Smith
14
14                                                       Proposed Counsel for Chapter 11 Debtors
15                                                       and Debtors in Possession
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 11                          DECLARATION OF ALAIN VILLENUEVE

 22          I, Alain Villenueve, hereby declare as follows:

 33          1.      I have personal knowledge of the facts set forth below and, if called to testify,

 44   would and could competently testify thereto. Capitalized terms not otherwise defined herein shall

 55   have the same meaning ascribed to such terms as in the Application to which this Declaration is

 66   attached (the “Application”).

 77          2.      I am a partner of Duane Morris, LLP (“DM”).

 88          3.      TRX Holdco, LLC (“Hold Co”) and Fitness Anywhere LLC, dba TRX and TRX

 99   Training (“Product Co” and together with Hold Co and Product Co, collectively, the “Debtors”),
10
10    the debtors and debtors-in-possession in the above-captioned Chapter 11 bankruptcy cases have
11
11    requested that DM serve as their IP counsel in connection with their chapter 11 bankruptcy cases
12
12    that the Debtors commenced on June 8, 2022 (the “Petition Date”).
13
13           4.      Prior to the Petition Date, starting in June 2018, when I joined DM, DM began
14
14    providing legal services to the Debtors related to its intellectual property (“IP”). Prior to June
15
15    2018, I provided IP legal services to the Debtor at my prior law firm. Given DM’s (and in
16
16    particular my) long history of representing the Debtors as IP counsel, I believe that DM has a
17
17    deep understanding and familiarity with the Debtors, their IP and the issues that arise concerning
18
18    the Debtors’ IP.
19
19           5.      I understand that the Debtors seek to employ DM as their special IP counsel
20
20    pursuant to 11 U.S.C. § 327(e) and with compensation pursuant to 11 U.S.C. § 330, at the
21
21    expense of the Debtors’ bankruptcy estates, and to have the Debtors’ employment of DM be
22
22    deemed effective on the date of the Debtors’ bankruptcy filings (June 8, 2022).
23
23           6.      The Debtors seek to employ GM as special IP counsel to provide legal services
24
24    related to the Debtors’ IP, including but not limited to general IP advice, patent and trademark
25
25    prosecution, brand enforcement, IP litigation, management of foreign IP counsel, and
26
26    maintenance of IP assets.
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 11           7.     The two primary attorneys at DM that will be handling the Debtors’ legal IP

 22   issues John E. Munro and me. My professional biography can be found by visiting the following

 33   link: https://www.duanemorris.com/attorneys/alainvilleneuve.html#tab_Biography .

 44           8.     Mr. Munro’s professional biography can be found by visiting the following link:

 55   https://www.duanemorris.com/attorneys/johnemunro.html .

 66           9.     DM will bill its time for work performed for the Debtors in accordance with its

 77   standard hourly billing rates. My hourly billing rate is $725. Mr. Munro’s hourly billing rate is

 88   $720.

 99           10.    I do not expect that any conflict will arise resulting from DM’s representation of
10
10    both Debtors, and I believe that hiring separate IP counsel for each of the Debtors would be
11
11    extremely burdensome, expensive, inefficient, impractical and unnecessary. In the event that any
12
12    conflict issue(s) arise between the Debtors, DM will notify the Court and address such conflict
13
13    that would be appropriate under the circumstances, including having one or both Debtors hiring
14
14    special counsel to address the issue or conflict.
15
15            11.    Because the majority of the assets are owned by Product Co and all or essentially
16
16    all of the business operations of the Debtors are conducted by Product Co, DM proposes to bill
17
17    all of its time to the Product Co bankruptcy case unless the matter deals only with the Hold Co
18
18    bankruptcy case in which case DM will bill its time to the Hold Co bankruptcy case.
19
19            12.    I believe and assert that DM does not represent or hold any interest adverse to the
20
20    Debtors or to their estates with respect to the proposed representation.
21
21            13.    DM was not paid any pre-bankruptcy retainer in contemplation of DM’s post-
22
22    petition services to be provided to the Debtors as set forth in this Application. DM is seeking
23
23    Court approval and the payment of a $50,000 post-petition evergreen retainer (the “Retainer”) to
24
24    be applied towards DM’s post-petition services to be provided to the Debtors. The Retainer has
25
25    not and will not be paid unless and until the Debtors’ obtain Court approval to pay the Retainer.
26
26            14.    Once paid, the Retainer will be maintained in a segregated trust account. DM
27
27    requests Court authority to make monthly draws against the Retainer for all post-petition fees
28
28    and expenses incurred during prior month(s), provided that DM shall submit Professional Fee

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 11   Statement(s) and comply with the requirements of the United States Trustee in respect thereto

 22   before drawing on the Retainer. Any and all monthly draws will still later be subject to final

 33   approval pursuant to a fee application. As this is an evergreen Retainer, as the Retainer becomes

 44   extinguished, the Retainer will be replenished in $50,000 increments. I submit that this relief is

 55   necessary and appropriate to assist DM with its cash flow needs as DM is required to pay its

 66   operating expenses on a continuous basis.

 77          15.     DM will seek Court authority to be paid from the Debtors’ estates for any and all

 88   post-petition fees incurred and expenses advanced by DM during its post-petition representation

 99   of the Debtors. DM recognizes that the payment of any such post-petition fees and expenses will
10
10    be subject to further Court order after notice and a hearing.
11
11           16.     DM has not shared or agreed to share its compensation for representing the
12
12    Debtors with any other person or entity, except among its members.
13
13           17.     DM will provide monthly billing statements to the Debtors that will set forth the
14
14    amount of post-petition fees incurred and expenses advanced by DM during the previous month.
15
15           18.     I understand the provisions of 11 U.S.C. §§ 327 and 330 which require, among
16
16    other things, Court approval of the Debtors’ employment of DM as special IP counsel and of all
17
17    legal fees and reimbursement of expenses that DM will receive from the Debtors and the
18
18    Debtors’ estates.
19
19           19.     As of the Petition Dates, DM was owed the total sum of approximately
20
20    $416,433.00 by the Debtors collectively for unpaid legal fees and expenses, and is therefore a
21
21    pre-petition general unsecured creditor of the Debtors.
22
22           20.     DM is not an equity security holder or an insider of the Debtors.
23
23           21.     DM is not and was not an investment banker for any outstanding security of the
24
24    Debtors. DM has not been within three years before the Petition Date an investment banker for a
25
25    security of the Debtors, or an attorney for such an investment banker in connection with the
26
26    offer, sale or issuance of any security of the Debtors.
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
2818 La Cienega Avenue, Los Angeles, CA 90034

A true and correct copy of the foregoing document entitled (specify): APPLICATION OF CHAPTER 11 DEBTORS AND
DEBTORS IN POSSESSION TO EMPLOY DUANE MORRIS LLP AS SPECIAL INTELLECTUAL PROPERTY
COUNSEL PURSUANT TO 11 U.S.C. § 327(e); DECLARATION OF ALAN VILLENUEVE IN SUPPORT THEREOF will
be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the
manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
June 17, 2022, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

       Ron Bender rb@lnbyb.com
       Shawn M Christianson cmcintire@buchalter.com, schristianson@buchalter.com
       Michael I. Gottfried mgottfried@elkinskalt.com, cavila@elkinskalt.com
       Jonathan Gottlieb jdg@lnbyg.com
       Michael J Hauser michael.hauser@usdoj.gov
       Marsha A Houston mhouston@reedsmith.com, hvalencia@reedsmith.com
       Krikor J Meshefejian kjm@lnbyg.com
       Christopher O Rivas crivas@reedsmith.com, chris-rivas-8658@ecf.pacerpro.com
       Lindsey L Smith lls@lnbyg.com, lls@ecf.inforuptcy.com
       United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov

2. SERVED BY UNITED STATES MAIL: On (date) June 17, 2022, I served the following persons and/or entities at the
last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) June 17, 2022, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

                                                                                             Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 June 17, 2022                  Lourdes Cruz                                                    /s/ Lourdes Cruz
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
